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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES - GENERAL
 Case No.            2:22-cv-07448-RGK-KSx                                              Date      February 17, 2023

 Title     GS Holistic, LLC v. Hollywood Zaza Smoke & Vape LLC et al


 Present: The Honorable                R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                      Joseph Remigio                                                        N/A
                        Deputy Clerk                                                  Court Reporter

               Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                         None appearing                                              None appearing
 Proceedings:               (IN CHAMBERS) Order to Show Cause re Dismissal for Lack of Prosecution

Absent a showing of good cause, an action must be dismissed without prejudice if the summons and complaint
are not served on a defendant within 90 days after the complaint is filed. Fed.R.Civ.Proc. 4(m). Generally,
defendants must answer the complaint within 21 days after service (60 days if the defendant is the United
States). Fed.R.Civ.Proc. 12(a)(1).

In the present case, it appears that one or more of these time periods has not been met. Accordingly, the
court, on its own motion, orders plaintiff(s) to show cause in writing by February 24, 2023, why this action
should not be dismissed for lack of prosecution as to certain defendant/s.

Alternatively, the Court will consider the following a satisfactory response to the Order to Show Cause:
          Alternative Response                                    Response         As to Defendant/s:
                                                                  Due Date
          Proof of timely service of summons and operative
          complaint

 X        Response to the operative Complaint                     2/22/2023        Andrea Harris
 X        If defendant fails to respond on the date above,        2/24/2023        Andrea Harris
          Plaintiff’s application for entry of default by clerk
          pursuant to Rule 55a of the Federal Rules of
          Civil Procedure
          Plaintiff’s motion for default judgment pursuant
          to Rule 55b of the Federal Rules of Civil
          Procedure

If a satisfactory response is not timely filed, the matter or the listed defendants will be dismissed for lack of
prosecution.

Pursuant to Rule 78 of the Federal Rules of Civil Procedure, the court finds that this matter is appropriate for
submission without oral argument.

Plaintiff to serve this order on any non-appearing defendant/s.




     CV-90 (12/02)                                 CIVIL MINUTES - GENERAL                     Initials of Deputy Clerk jre
